      Case 2:13-cr-00024-TOR     ECF No. 533    filed 12/05/14   PageID.3875 Page 1 of 1




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 2
 3                         UNITED STATES DISTRICT COURT
 4                       FOR THE DISTRICT OF WASHINGTON
 5
 6 UNITED STATES OF AMERICA,                       2:13-CR-024-FVS-1

 7                      Plaintiff,
 8                                                ORDER GRANTING
     vs.                                          MOTION TO TRAVEL
 9
10 RHONDA LEE FIRESTACK-
   HARVEY,
11
12                      Defendant.
13         Before the Court is Defendant Rhonda Firestack-Harvey’s Motion for
14   permission to travel out of the District to San Pedro, California between December
15   22, 2014, and January 5, 2015. Counsel indicates that neither the Probation Officer
16   nor the United States is opposed to the request.
17         IT IS ORDERED:
18         1.     Defendant’s Motion, ECF No. 532, is GRANTED.. Defendant is
19   authorized to travel out of the District to California during the period December
20   22, 2014, returning no later than January 5, 2015.
21         2.     All other terms and conditions of pretrial release not inconsistent
22   herewith shall remain in full force and effect.
23         IT IS SO ORDERED.
24         DATED December 5, 2014.
25
                                     _____________________________________
26
                                               JOHN T. RODGERS
27                                    UNITED STATES MAGISTRATE JUDGE
28



     ORDER DENYING MOTION TO TRAVEL - 1
